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The Daily Tribune (dailytribune.com), Serving Southeastern Oakland County

News

Police search for evidence across street from murder
scene

Thursday, July 22, 2010

By Catherine Kavanaugh, Daily Tribune Staff Writer

ROYAL OAK — Police sifted through mulch Thursday with rakes, their hands and a metal detector looking for evidence
across the street from the house of an Ardmore Avenue resident murdered in his driveway last week.

The officer, sergeant and detective wouldn't say what they were looking for as they carefully combed through thin layers
of red woodchips outside the recently built house on the 2700 block of Ardmore.

Curious neighbors watched the hours-long process aided with a screened sifter made by the Department of Public
Services as police work to solve Roya! Oak's first homicide since 2005.

Gary Harmon Lupiloff, 53, was gunned down just before 3 p.m. July 13 as he paced up and down his driveway while
talking on his cell phone. He was shot once in the back by the ranch where he worked and lived alone.

“We have received information that we're following up on,” Police Lt. Gordon Young said. "We're still looking for a
bicyclist and the driver of a black SUV or crossover vehicle, too. Those are the two primary people we need to speak to.”

Young said all police resources are being used to find the shooter.

“All of our officers, even if they are not specifically working on this case day to day, are watching for anything that can
break this case,” Young said.

Lupiloff ran a company that supplies large LED display screens for advertisers at events.
“He didn’t like to sit in his office,” neighbor Pat Sawdon said. “He was outside most of the time.”

She also is outside a lot tending her flower beds and vegetable gardens as her dogs play in the yard. However, she had
Jeft home briefly at the time of the shooting as she does most days.

“Somebody could have gotten a feel for what goes on in the neighborhood,” Sawdon said. “There was a window where |
was gone and that’s when it happened. That's disturbing to think about.’

Young said police still don’t know if the murder was random or the victim was targeted. He did say nothing appeared to
be missing from Lupiloff, a divorced father of two who had changed his name.

Lupiloff made Fox 2’s Hall of Shame more than a decade ago when he was a car broker accused of ripping off
customers. He also spent time in federal prison on a bank-related conviction.

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Sawdon said Lupiloff lived on the quiet street of Ardmore about seven years.

“He was quiet,” she added. “He didn’t have parties and he didn’t have a lot of people coming around. He met his clients
some place else.”

Her yard and the victim's abut school property. Sawdon said police spent a lot of time searching behind garages early in
the investigation.

Young said police still are asking for the public's help. Anyone with information about the case, the bicyclist or driver
should call (248) 246-3515.

Contact Catherine Kavanaugh at cathy.kavanaugh@dailytribune.com or (586) 783-0216.

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